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                        EXHIBIT 22
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                                https://www.t-mobile.com/home-internet/gateway




                                https://t-mobilefiber.com/city/newyork

1[a] providing a plurality of   T-Mobile provides multiple access points, for example, within a multi-family or mixed-use development.
frequency channels in each of   Using these access points, T-Mobile provides a plurality of frequency channels in each of a plurality of
a plurality of portions of a    portions of a service area.
service area,


                                                                 Page 2
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                                https://www.t-mobile.com/home-internet/eligibility/vr-assisted




                                802.11-2016

1[b] wherein the plurality of   The above frequency channels are in the unlicensed 2.4, 5, or 6 Ghz bands.
frequency channels are in an
unlicensed frequency band

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                            https://en.wikipedia.org/wiki/Wi-Fi 6




                            FCC 20-51 at 3.

1[c] wherein a same         The WiFi 6 standard includes the HE spatial reuse operation, in which the same frequency channel of the
frequency channel of the    plurality of frequency channels is provided in two or more adjacent portions of the service area.


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plurality of frequency
channels is provided for use    For example, this is used for different basic service sets (BSS) to operate within a dense environment.
in two or more adjacent         Stations (STA) identify whether physical layer protocol data units (PPDUs) originate from within their own
portions of the service area;   BSS when the sets are overlapping.
and




                                802.11ax




                                802.11ax


1[d] mitigating interference    This mitigates interference associated with external interference sources (which is, for example, the case in a
associated with external        dense deployment scenario) by making particular channels of the plurality of channels available for use by the
interference sources by         network nodes according to the two tier scheduling strategy described in limitations 1[e] -1[g].

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making particular channels of
the plurality of channels
available for use by network
nodes disposed in the portions
of the service area according
to a two tier scheduling
strategy,


                                   802.11ax

1[e] wherein a first tier of the   The first tier of the scheduling strategy is to assign channels at a slow pace, e.g., when the device is set up or
scheduling strategy includes       when a channel is scanned for interference.
assigning the plurality of
frequency channels to each         For example, channels are scanned or selected when using T-Mobile routers.
portion of the service area at a
relatively slow pace;
1[f] wherein a second tier of      The second tier of the scheduling strategy is to allocate the assigned frequency channels resulting from the
the scheduling strategy            first tier of the scheduling strategy among the network nodes disposed in each portion of the service area in
includes allocating the            real-time, through the spatial reuse function.
assigned frequency channels
resulting from the first tier of   Through the spatial reuse operation, frequency channels are allocated by BSS color (marking PPDUs as inter-
the scheduling strategy among      BSS).
the network nodes disposed in
each portion of the service
area in real-time; and




                                                                      Page 6
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                              802.11ax


1[g] wherein the network      As a function of the spatial characteristic groupings of said network nodes (i.e., BSS), the network nodes are
nodes are selected for        selected for simultaneous use of particular channels.
simultaneous use of said
particular channels as a
function of spatial
characteristic groupings of
said network nodes.




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